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UNITED STATE DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------x   Civil Action No.
 JAMES H. BRADY,                                                          20-CV-7047 (LJL)

                                              Plaintiff,                  NOTICE OF MOTION FOR
                                                                          DISMISSAL OF COMPLAINT
               -against-

 GREGORY SHEINDLIN, ESQ, and
 THE SHEINDLIN LAW FIRM,

                                               Defendants.
----------------------------------------------------------------------x
        PLEASE TAKE NOTICE that upon the annexed Declaration of Gregory Sheindlin,

  dated November 05, 2020 and the Exhibits attached thereto, and the accompanying

  Memorandum of Law, and the pleadings herein, Defendants Gregory Sheindlin, Esq. and The

  Sheindlin Law Firm will move this Court at the Daniel Patrick Moynihan United States

  Courthouse, Southern District of New York, 500 Peart Street, New York, New York 10007,

  Southern District of New York, before the Honorable Lewis J. Liman, U.S.D.J., on such date

  and time as the Court may set, for an Order, pursuant to Rule(12)(b) of the Federal Rules of

  Civil Procedure, dismissing Plaintiff’s Complaint in its entirety, and requesting sanctions




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 including but not limited to attorneys’ fees and costs, and granting such other and further relief

 as the Court may deem just and proper.

 Dated:      New York, New York
             November 5, 2020

                                          _____________________________
                                          Gregory Sheindlin, Esq. (GS-9182)

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